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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al.,

Plaintiffs,

VS. No. CTV 8-90-0520 LKK JFM P

ARNOLD SCHWARZENEGGER, et al.,

Defendants.

SPECIAL MASTER’S REPORT ON PLAINTIFFS’ RESPONSE TO THE

SIXTEENTH REPORT ON COMPLIANCE SEEKING SALARY
ENHANCEMENTS FOR DEPARTMENT OF MENTAL HEALTH CLINICIANS

The draft version of the Special Master’s 16" report on compliance
contained a recommendation that the defendants be required to develop within 30 days a
plan for the enhancement of compensation paid to California Department of Corrections
and Rehabilitation (CDCR) mental health clinicians and clinical supervisors to make their
salaries competitive with comparable positions in the private sector and/or comparable
categories of CDCR’s medical staff. The factual basis for the recommendation was the
defendants’ eleven-year record of failure in hiring and/or contracting for the services of
sufficient clinicians and clinical supervisors to fill the allocated positions identified as
necessary for the delivery of constitutionally adequate mental health services pursuant to
multiple Coleman court orders. Another impetus for the recommendation was the
October 17, 2006 decision of the Plata court to waive state law requirements to enable the
Receiver in that case to enhance significantly compensation for CDCR’s providers of
medical services, a development that raised significant issues of parity of pay between the

department’s mental health and medical practitioners.
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Even as the draft version of the 16™ compliance report was being
composed, the defendants acknowledged that both the long history of staffing
deficiencies and the action of the Plata court made a comparable move in compensation
for mental health clinicians necessary and probably inevitable. Within the 30 days
allocated for objecting to the draft version of the report and its recommendation for the
enhancement of clinicians’ pay, the defendants submitted to the Special Master a
responsive schedule of increased pay and a request for a one-time judicial waiver of
applicable state regulations to implement it. Plaintiffs made no objections to the Special
Master’s draft report. The revised and final version of the Special Master’s 16"
compliance report submitted the defendants’ proffered schedule to the Court for its
endorsement and the requested waiver.

On December 15, 2006, the same day the Special Master filed his report,
the Court adopted the recommendation on pay and ordered defendants to implement the
proposed pay schedule forthwith. Three days later plaintiffs filed a “response” to the
Special Master’s report seeking specifically the extension of the ordered pay increases to
“Gdentically-situated mental health clinicians” working for DMH programs in CDCR
institutions. Citing the potential loss of current DMH clinicians and the agency’s
diminished ability to recruit clinicians in the future for planned program expansions
within CDCR institutions, plaintiffs asked the Court to direct the defendants to provide
commensurate salary increases contemporaneously to clinicians in all DMH programs
operating within CDCR facilities, namely California Medical Facility and Salinas Valley

State Prison.
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On January 17, 2007, defendants responded to plaintiffs’ concerns over
DMH clinicians’ salaries with the assurance that commensurate salaries would be
provided to DMH clinicians involved in programs in California Medical Facility and
Salinas Valley State Prison effective retroactively to January 1, 2007. The summary for
the Governor’s FY 2007-08 budget added the information that $3.9 million from the
2006-07 General Fund and $5.5 million from the 2007-08 General Fund would be
earmarked to “increase the salaries of the same classifications of staff working in DMH
psychiatric programs operating within Salinas Valley State Prison and the California

Medical Facility at Vacaville.” Governor’s Budget Summary 2007-08, Health and

Human Services, p. 165.

The defendants’ filing of December 17, 2006, contained a somewhat
confusing exhibit, a copy of which is attached to this report, that seemed to obscure the
assertion that commensurate salaries would be allocated for DMH personnel in CDCR
institutions. Defendants’ subsequent clarifications indicated that DMH clinicians
employed in programs operating in California Medical Facility and Salinas Valley State
Prison will be receiving the salaries listed on the left side of the exhibit. Other DMH
employees working in programs for CDCR inmates in DMH facilities, including
Atascadero State Hospital, Coalinga State Hospital, Metropolitan State Hospital, Napa
State Hospital and Patton State Hospital, will be receiving the salaries listed on the right
side of the exhibit.

This development, in effect, moots that part of plaintiffs’ request

pertaining to salary increases for DMH clinicians involved in programs providing mental
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health services to CDCR caseload inmates in California Medical Facility and Salinas
Valley State Prison.

Plaintiffs also sought an order requiring the defendants to explain to the
Court within 60 days why salaries for DMH clinicians at Atascadero State Hospital,
Coalinga State Hospital and Patton State Hospital should not also be made commensurate
with the new CDCR clinical salary schedule, or, in the alternative, asking the Court to
direct defendants to provide commensurate salary increases to clinicians in those three
DMH facilities. It is unclear why plaintiffs did not include in their request Napa State
Hospital and Metropolitan State Hospital, both of which have small programs, up to just
ten inmates between them, for CDCR inmates. Defendants objected to this request of
plaintiffs on the grounds that it was overbroad and sought to set salaries of clinicians in
DMH institutions who provided no mental health services to CDCR inmates and,
therefore, violated the Prison Litigation Reform Act’s mandate for crafting “narrowly
drawn” injunctive relief. 18 USC Section 3626(a)(1)(A).

Preliminary indications suggest that the pay raises advertised for CDCR
clinicians, even before they have been formally established, may, indeed, result in
defections of DMH clinicians for positions in CDCR. Certainly, the pay differentials set
forth in Exhibit A to this report, prepared by defendants to demonstrate the pay
differences, explain why such defections might occur. Already, for the first time in the
history of Coleman, Atascadero State Hospital has turned away referred and accepted
CDCR inmates because of a lack of adequate staff to treat them. Defendants’ explanation
for this unusual occurrence, provided in a January 23, 2006 letter of the DMH Deputy

Director for Long Term Care Services and included in this report as Exhibit B, did not
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attribute the staffing shortage directly to the pay issue. Meanwhile, recent media reports
have been suggesting that pay issues are causing numerous departures of DMH clinicians
for the anticipated better pay in CDCR.

None of this provides nearly enough of a factual basis on which to make
any further recommendations relative to the need for additional salary enhancements for
DMH clinicians. The differences between the long-term situation with mental health
programs in CDCR and the recent developments in DMH are substantial. In Coleman,
mental health services were found to be egregiously unconstitutional in 1995, and at no
time since then have the defendants been able to attract and retain sufficient permanent
clinical staff to provide the judicially mandated remedial mental health services agreed to
as essential by the parties a decade ago in mid-1997. In addition, the mental health
caseload in CDCR, including over 31,000 inmates, simply dwarfs DMH’s caseload, and
must be treated in an exponentially more difficult environment. The pay raises mandated
for medical clinicians in CDCR by the Plata receiver, moreover, were of the same
magnitude as the differences set out in Exhibit A to this report. Without some
corresponding response, it was anticipated logically that the disparity would have a
profound effect on the recruitment and morale of CDCR’s mental health staff. Finally,
the schedule of pay increases for mental health clinicians adopted by the Court in
Coleman was prepared by the defendants themselves.

All of this suggests that at least that portion of plaintiffs’ request seeking
an order that defendants assess and develop a plan to meet the issues created by the
disparity in pay for DMH clinicians providing mentally health services to CDCR inmates

in CDCR institutions and those providing services to CDCR inmates in all other DMH
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institutions has merits. The defendants should be directed to submit to the Court the
product of such an assessment and a corresponding plan within 60 days of adoption of the
recommended order.

Finally, as agreed to by the defendants, they ought to be required to submit
monthly reports to the Special Master on staffing and staffing vacancies in all DMH
hospitals with programs providing mental health services to CDCR inmates until such

time as the pay differential issue has been addressed.

Respectfully submitted,

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#, Michael Keating, Jr.
Special Master

January 30, 2007
